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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

VALERIA BERRY,

     Plaintiff,                               Case No. 24-12834
                                              Hon. Jonathan J.C. Grey
v.

THE OFFICE OF REPRESENTATIVE
SHRI THANEDAR, U.S. HOUSE OF
REPRESENTATIVES,

     Defendant.
______________________________/

                      ORDER TO SHOW CAUSE

     On October 28, 2024, Valeria Berry brought this action pro se

against the Office of U.S. Representative Shri Thanedar (“Thanedar”)

alleging violations of the Age Discrimination in Employment Act of 1967

(“ADEA”), 29 U.S.C. § 621, et seq. (ECF No. 1.) On that same day, Berry

filed an application to proceed without prepaying fees or costs. (ECF No.

2.) On October 30, 2024, the Court granted Berry’s application (ECF No.

4) and ordered Berry to “complete and present to the Clerk’s Office

[specific] documents to effect service in this case” within fourteen days of

the Court’s Order. (ECF No. 5.) On November 14, 2024, the Court mailed

both Orders to Berry, but her mail was returned as undeliverable on
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December 3, 2024. (ECF No. 7.) As of this date, December 5, 2024, Berry

has not responded to the Court’s order.

     When it appears that a party has taken no action for a reasonable

time, the Court may, “on its own motion after reasonable notice . . . , enter

an order dismissing or remanding the case unless good cause is shown.”

E.D. Mich. LR 41.2. Failure to comply with an Order from the Court may

result in dismissal of the case. Berry has not completed and presented

the requested documents to the Clerk’s Office. Berry is ORDERED to

show cause on or before December 20, 2024 why this Court should not

dismiss the case for failure to prosecute under Local Rule 41.2.

     SO ORDERED.

                                         s/Jonathan J.C. Grey
                                         Jonathan J.C. Grey
Dated: December 5, 2024                  United States District Judge
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                        Certificate of Service

The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First-Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on December 5, 2024.

                              s/ S. Osorio
                             Sandra Osorio
                             Case Manager
